                 Case 3:19-mj-08061-MAT Document 1 Filed 08/26/19 Page 1 of 6
bef




                                      United States District Court
                                           Western District of Texas
                                              El Paso Division
                       INITIAL APPEARANCE / PLEA AND SENTENCE
                                                                      Case Number: EP:19-M -08061(1) MAT
DEFENDANT'S NAME:                                         ATTY FOR DEFENDANT: Joshua Cody Spencer
Ivan Moreno-Chavez

JUDGE:          Miguel A. Torres                          AUSA:             John Gans
DEPUTY CLERK:   Rita R Velez                              INTERPRETER:        X Yes               No
COURT REPORTER: ERO                                       PROBATION:
                                                          PRETRIAL OFFICER:
DATE:                 08/26/2019                          TIME: _ _ Minutes           3:32 - 4:20

PROCEEDINGS                                                DFT NO.                  [DftNo1]       [DftNo2]

  X     INITIAL APPEARANCE HELD                                                        X
  X     ARRAIGNMENT HELD                                                               X
  X     DFT INFORMED OF RIGHTS/oral consent to plea                                    X
  X     GUILTY     DEFT [DftNo1] COUNT(S):         COMPLAINT

  X     GUILTY PLEA ACCEPTED BY THE COURT                                              X

        Information Filed On _____________________
        Motion to Dismiss Complaint filed on _____________
        Court Grants Motion to Dismiss on _____________
        Order Dismissing Complaint entered on _____________

        Oral Motion by AUSA to Remit Special Assessment                                X
        Oral Order Granting Oral Motion to Remit Special Assessment                    X

  X     SENTENCING HELD: Defendant sentenced to Time Served plus one day; No Fine; S/A
        REMITTED.

OTHER:
                       Case 3:19-mj-08061-MAT Document 1 Filed 08/26/19 Page 2 of 6
AO 442 (REV. 12/85)




                            UNITED STATES DISTRICT COURT
                                                                                                     FILED
                                                                                                   08/26/2019
                             WESTERN DISTRICT OF TEXAS, EL PASO DIVISION                    Clerk, U.S. District Court
                                                                                            Western District of Texas


                                                                                    By:             RRV
                                                                                                     Deputy




USA                                                         §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: EP:19-M -08061(1) - MAT
                                                            §
(1) IVAN MORENO-CHAVEZ                                      §


                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about 06/05/2019 in El Paso county, in the WESTERN DISTRICT OF

TEXAS defendant did, being an alien to the United States, knowingly enter and attempt to enter the United

States at a time and place other than as designated by immigration officers

in violation of Title 8 United States Code, Section(s) 1325(a)(1).

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "The Defendant, Ivan MORENO-Chavez, an alien to the United States and a citizen of Mexico,

entered the United States from the Republic of Mexico by crossing the Rio Grande River approximately 2

miles west of the Paso Del Norte Port of Entry in El Paso, Texas on June 05, 2019, which is in the Western

District of Texas. The place where the Defendant entered is not designated as a Port of Entry by immigration

officers."

Continued on the attached sheet and made a part of hereof:                                          X Yes                No




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           Rodriguez, Luis Enrique
                                                                           Border Patrol Agent

08/26/2019                                                            at   EL PASO, Texas
File Date                                                                  City and State




MIGUEL A. TORRES                                                           ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
CONTINUATION OFCase 3:19-mj-08061-MAT
                CRIMINAL COMPLAINT             Document 1 Filed 08/26/19 Page 3 of 6

WESTERN DISTRICT OF TEXAS

(1) IVAN MORENO-CHAVEZ

FACTS   (CONTINUED)

The Defendant, Ivan MORENO-Chavez, an alien to the United States and a citizen of Mexico, entered the
United States from the Republic of Mexico by crossing the Rio Grande River approximately 2 miles west of the
Paso Del Norte Port of Entry in El Paso, Texas on June 05, 2019, which is in the Western District of Texas.
The place where the Defendant entered is not designated as a Port of Entry by immigration officers.



Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:
NONE

CRIMINAL HISTORY:
NONE
              Case 3:19-mj-08061-MAT Document 1 Filed 08/26/19 Page 4 of 6




                                     United States District Court
                                          Western District of Texas
                                             El Paso Division

UNITED STATES OF AMERICA                               §
                                                       §
vs.                                                    § No: EP:19-M -08061(1)
                                                       §
                                                       §
(1) IVAN MORENO-CHAVEZ
                                                       §
  Defendant
                             ORDER APPOINTING COUNSEL

               The above Defendant has testified under oath, or has otherwise satisfied this Court

that he or she is financially unable to employ counsel, and does not wish to waive counsel.

               Therefore, in the interests of justice, Joshua Cody Spencer, is hereby appointed,

pursuant to the provisions of the Criminal Justice Act, to represent said Defendant in this case.

               This appointment shall remain in effect until further order of the Court.

               It is, accordingly, so ORDERED this the 26th day of August, 2019.




                                                   ______________________________
                                                   MIGUEL A. TORRES
                                                   UNITED STATES MAGISTRATE JUDGE
         Case 3:19-mj-08061-MAT Document 1 Filed 08/26/19 Page 5 of 6



                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION

USA                                         §
                                            §
vs.                                         §    Case Number: EP:19-M -08061(1)
                                            §
(1) IVAN MORENO-CHAVEZ                      §

      ORDER SETTING MISDEMEANOR ARRAIGNMENT/PLEA & SENTENCE


IT IS HEREBY ORDERED that the above entitled and numbered case is set before the
HONORABLE U.S. MAGISTRATE MIGUEL A. TORRES for MISDEMEANOR
ARRAIGNMENT/PLEA & SENTENCE, August 26, 2019 at 02:30 PM in Magistrate
Courtroom, Room 712.

IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to the
defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services, United
States Probation Office, and any surety or custodian, if applicable. Further, counsel for the
defendant shall notify the defendant of this setting. If the defendant is on bond, he/she
shall be present.


IT IS SO ORDERED this 08/26/2019.



                                            ______________________________
                                            MIGUEL A. TORRES
                                            UNITED STATES MAGISTRATE JUDGE
                            Case 3:19-mj-08061-MAT Document 1 Filed 08/26/19 Page 6 of 6
(W.D.T.X. Ref: 245H)(Rev. 01/05) - Judgement in a Criminal Case for a Petty Offense (Short Form)




                                      UNITED STATES DISTRICT COURT                                                         FILED
                                                                                                                         08/26/2019
                                                       WESTERN DISTRICT OF TEXAS                                  Clerk, U.S. District Court
                                                           EL PASO DIVISION                                       Western District of Texas


                                                                                                            By:           RRV
                                                                                                                           Deputy




UNITED STATES OF AMERICA                                                               §
                                                                                       § CASE NUMBER: EP:19-M -08061(1) - MAT
vs.                                                                                    § USM Number:
                                                                                       §
(1) IVAN MORENO-CHAVEZ                                                                 §

                 Defendant.

                                                         JUDGMENT IN A CRIMINAL CASE
                                                         (For A Petty Offense) - Short Form

                 The defendant, Ivan Moreno-Chavez, was represented by counsel, Joshua Cody Spencer.

          The defendant pled guilty to the complaint on August 26, 2019. Accordingly, the defendant is
adjudged guilty of the following offense(s):

Title & Section                            Nature of Offense                                                 Date of Offense

8 USC 1325(a)(1)                           IMPROPER ENTRY BY AN ALIEN                                        June 05, 2019


           As pronounced on August 26, 2019, the defendant is hereby committed to the custody of the
United States Bureau of Prisions for a term of Time Served plus one day. The defendant shall remain in
custody pending service of sentence.

           The special assessment imposed pursuant to 18 U.S.C. § 3013 is hereby remitted pursuant to
18 U.S.C. § 3573 because reasonable efforts to collect this assessment are not likely to be effective.

                 Signed this the 26th day of August, 2019.




                                                                                                   ______________________________
                                                                                                   MIGUEL A. TORRES
                                                                                                   UNITED STATES MAGISTRATE JUDGE
